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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 RONALDO LIGONS, BRENT BUCHAN,                   Case No. 15‐CV‐2210 (PJS/BRT)
 LAWRENCE MAXCY, JOHN ROE, and
 JANE ROE, individually, and on behalf
 of those similarly situated,

                     Plaintiffs,

 v.
                                                             ORDER
 MINNESOTA DEPARTMENT OF
 CORRECTIONS; THOMAS ROY, in his
 official capacity as Commissioner,
 Minnesota Department of Corrections;
 DAVID A. PAULSON, M.D., in his
 official capacity as Medical Director,
 Minnesota Department of Corrections;
 and NANETTE LARSON, in her official
 capacity as Health Services Director,
 Minnesota Department of Corrections,

                     Defendants.

       Andrew H. Mohring, Michael V. Ciresi, Katie Crosby Lehmann, and Esther O.
       Agbaje, CIRESI CONLIN LLP; Peter J. Nickitas; and Carl Peter Erlinder, for
       plaintiffs.

       Kathryn A. Fodness and Kelly S. Kemp, MINNESOTA ATTORNEY GENERAL’S
       OFFICE, for defendants.

       Plaintiffs are inmates in the custody of defendant Minnesota Department of

Corrections (“DOC”) who have chronic hepatitis C (“HCV”) infections. They bring

claims under the Eighth Amendment and Title II of the Americans with Disabilities Act
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(“ADA”), 42 U.S.C. § 12131 et seq., on behalf of themselves and a putative class

challenging the DOC’s treatment protocol for inmates with chronic HCV.

       This matter is before the Court on defendants’ motion for summary judgment

and plaintiffs’ motion for class certification. For reasons that will be described in a

memorandum to be issued before trial, defendants’ motion is granted in part and

denied in part and plaintiffs’ motion is granted as follows:

       1.     Defendants’ motion for summary judgment [ECF No. 219] is GRANTED

              IN PART and DENIED IN PART.

              a.     The motion is GRANTED as to all claims by plaintiffs Ronaldo

                     Ligons and Brent Buchan, and those claims are DISMISSED

                     WITHOUT PREJUDICE.

              b.     The motion is GRANTED as to claims seeking universal opt‐out

                     screening for hepatitis C, and those claims are DISMISSED

                     WITHOUT PREJUDICE.

              c.     The motion is GRANTED as to plaintiff Lawrence Maxcy’s claim

                     under the Americans with Disabilities Act, and that claim is

                     DISMISSED WITH PREJUDICE AND ON THE MERITS.

              d.     The motion is DENIED in all other respects.




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     2.    Any remaining claims for damages are DISMISSED WITHOUT

           PREJUDICE.

     3.    Plaintiffs’ motion for class certification [ECF No. 238] is GRANTED.

     4.    The Court hereby certifies the following class under Fed. R. Civ.

           P. 23(b)(2): “All current and future inmates of Minnesota correctional

           facilities who have been diagnosed with chronic hepatitis C and have not

           received treatment with a direct‐acting antiviral medication.”

     5.    Plaintiff Lawrence Maxcy is appointed class representative and his

           attorneys of record are appointed as class counsel, with Ciresi Conlin LLP

           appointed as lead class counsel.




Dated: January 3, 2019                     s/Patrick J. Schiltz
                                           Patrick J. Schiltz
                                           United States District Judge




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